220 F.2d 753
    CHICAGO, ROCK ISLAND &amp; PACIFIC RAILROAD COMPANY, a Corporation, Appellant,v.Ramon GALLARDO.
    No. 15256.
    United States Court of Appeals Eighth Circuit.
    March 11, 1955.
    
      Appeal from the United States District Court for the District of Minnesota.
      Sullivan, Stringer, Donnelly &amp; Sharood, St. Paul, Minn., for appellant.
      William A. Cole, Minneapolis, Minn., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed without costs to either party in this Court, on stipulation of parties.
    
    